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 9 Korea Times Los Angeles, Inc.
10
                                     UNITED STATES DISTRICT COURT
11
                                   CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                    Case No. 2:23-cv-10356-JAK
13
14                          Plaintiff,
                                     ANSWER TO COMPLAINT TO
15        v.                         REDUCE FEDERAL TAX AND
16                                   PENALTY ASSESSMENTS TO
      KOREA TIMES LOS ANGELES, INC., JUDGMENT; JURY DEMAND
17
18                          Defendant.
19
                                                   Complaint Filed: December 11, 2023
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               ANSWER TO COMPLAINT TO REDUCE FEDERAL TAX AND PENALTY
                            ASSESSMENTS TO JUDGEMENT
     4870-4407-9013, v. 1
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 1            Defendant Korea Times of Los Angeles, Inc. (“KTLA,” or “Defendant”) hereby
 2 answers the United States of America (“Plaintiff”)’s complaint (“Complaint”) [Docket
 3 No. 1] filed in the above-captioned civil proceeding (the “Case”) before this court (the
 4 “Court”) as follows:
 5                                   GENERAL ALLEGATIONS
 6                                         Authorization for Suit
 7            1.       The allegations in paragraph 1 contain statements and conclusions of law
 8 to which no answer is required. To the extent that paragraph 1 can be interpreted to
 9 contain any factual allegations, Defendant lacks information and belief sufficient to
10 admit or deny the allegations in paragraph 1, and, therefore, denies such allegations.
11                                      Jurisdiction and Venue
12            2.       The allegations in paragraph 2 contain statements and conclusions of law
13 to which no answer is required.
14            3.       Defendant admits that its principal place of business is and has always
15 been in Los Angeles County. The remaining allegations in paragraph 3 contain
16 statements and conclusions of law to which no answer is required.
17                                            The Parties
18            4.       At this time, Defendant lacks information and belief sufficient to admit
19 or deny the allegations in paragraph 4, and, therefore, denies such allegations.
20            5.       Defendant admits that it is a California corporation whose EIN begins
21 with 95 and ends in 5935; Defendant lacks information and belief sufficient to admit
22 or deny the remaining allegations in paragraph 5, and, therefore, denies such
23 allegations.
24                                       CAUSE OF ACTION
25            6.            Defendant’s responses to paragraphs 1 through 5 are incorporated
26 herein by reference as if set forth in full.
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               ANSWER TO COMPLAINT TO REDUCE FEDERAL TAX AND PENALTY
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 1            2011 Income Tax Assessments
 2            7.       Defendant admits filing Form 1120.       The remaining allegations in
 3 paragraph 7 contain statements and conclusions of law to which no answer is required.
 4 To the extent that the remaining allegations in paragraph 7 can be interpreted to
 5 contain any factual allegations, Defendant lacks information and belief sufficient to
 6 admit or deny such allegations, and, therefore, denies such allegations.
 7            8.       The allegations in paragraph 8 contain statements and conclusions of law
 8 to which no answer is required. To the extent that paragraph 8 can be interpreted to
 9 contain any factual allegations, Defendant lacks information and belief sufficient to
10 admit or deny the allegations in paragraph 8, and, therefore, denies such allegations.
11            9.       The allegations in paragraph 9 contain statements and conclusions of law
12 to which no answer is required. To the extent that paragraph 9 can be interpreted to
13 contain any factual allegations, Defendant lacks information and belief sufficient to
14 admit or deny the allegations in paragraph 9, and, therefore, denies such allegations.
15            10.      The allegations in paragraph 10 contain statements and conclusions of
16 law to which no answer is required. To the extent that paragraph 10 can be interpreted
17 to contain any factual allegations, Defendant lacks information and belief sufficient to
18 admit or deny the allegations in paragraph 10, and, therefore, denies such allegations.
19            Defendant’s Failure to Pay Tax and Penalty Assessment
20            11.      The allegations in paragraph 11 contain statements and conclusions of
21 law to which no answer is required. To the extent that paragraph 11 can be interpreted
22 to contain any factual allegations, Defendant lacks information and belief sufficient to
23 admit or deny the allegations in paragraph 11, and, therefore, denies such allegations.
24            12.      The allegations in paragraph 12 contain statements and conclusions of
25 law to which no answer is required. To the extent that paragraph 12 can be interpreted
26 to contain any factual allegations, Defendant lacks information and belief sufficient to
27 admit or deny the allegations in paragraph 12, and, therefore, denies such allegations.
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 1            13.      The allegations in paragraph 13 contain statements and conclusions of
 2 law to which no answer is required. To the extent that paragraph 13 can be interpreted
 3 to contain any factual allegations, Defendant lacks information and belief sufficient to
 4 admit or deny the allegations in paragraph 13, and, therefore, denies such allegations.
 5                                   AFFIRMATIVE DEFENSES
 6            In asserting the following affirmative defenses, Defendant does not shift any
 7 burden of proof or assume the need to prove any element of any claim asserted by
 8 Plaintiff.        To the extent defenses asserted below are not considered affirmative
 9 defenses, but rather part of Plaintiff’s burden of proof or elements Plaintiff must prove,
10 such shall remain a part of Plaintiff’s burden notwithstanding any characterization
11 herein of such aspects of Plaintiff’s prima facie case as affirmative defenses.
12                                FIRST AFFIRMATIVE DEFENSE
13                                (Failure to State a Cause of Action)
14            1.       Plaintiff failed to allege sufficient facts upon which to state a valid claim
15 or cause of action against Defendant.
16                               SECOND AFFIRMATIVE DEFENSE
17                                        (Improper Taxpayer)
18            2.       To the extent that tax liability, penalties, and interest may have accrued
19 as alleged by Plaintiff, such tax liability, penalties, and interest accrued against a
20 taxpayer other than Defendant.
21                                THIRD AFFIRMATIVE DEFENSE
22                                            (Impossibility)
23            3.       To the extent that monies were due to Plaintiff, as alleged, recovery is
24 barred by the doctrine of impossibility.
25                               FOURTH AFFIRMATIVE DEFENSE
26                                  (Laches and Equitable Estoppel)
27            4.       Each and every claim for relief is barred by the doctrines of laches and/or
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 1 equitable estoppel.
 2                                FIFTH AFFIRMATIVE DEFENSE
 3                                         (Unjust Enrichment)
 4            5.       Defendant asserts and alleges that each claim is barred because recovery
 5 from Defendant would result in Plaintiff’s unjust enrichment.
 6                                SIXTH AFFIRMATIVE DEFENSE
 7                           (Failure to Exhaust Administrative Remedy)
 8            6.       Plaintiff is barred and precluded from bringing the Case in that it has
 9 failed to exhaust all applicable administrative remedies and proceedings.
10                              SEVENTH AFFIRMATIVE DEFENSE
11                                       (Incorrect Tax Assessed)
12            7.       To the extent that Plaintiff claims an amount due, such amount is
13 incorrect or the result of an erroneous assessment.
14                                  EIGHTH AFFIRMATIVE DEFENSE
15                                       (Statute of Limitations)
16            8.       The purported claims for relief are barred by the statute of limitations.
17                                   NINTH AFFIRMATIVE DEFENSE
18                                       (Indispensable Parties)
19            9.       Plaintiff failed to join necessary and indispensable parties to this action.
20                               TENTH AFFIRMATIVE DEFENSE
21                                               (Waiver)
22            10.      The purported claims for relief have been waived and released.
23                            ELEVENTH AFFIRMATIVE DEFENSE
24                                              (Solvency)
25            11.      Recovery is barred because at all relevant times Defendant was insolvent.
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 1                                TWELFTH AFFIRMATIVE DEFENSE
 2                                            (Reasonable Cause)
 3            12.      Defendant’s conduct, action, or inaction was reasonable, with reasonable
 4 cause, without neglect.
 5                                   RESERVATION OF RIGHTS
 6            13.       Defendant presently has insufficient knowledge or information on which
 7 to form a belief as to whether it may have additional, as yet unstated, defenses
 8 available. Defendant reserves the right to assert additional defenses in the event
 9 discovery indicates that such new defense would be available.
10            WHEREFORE, Defendant prays as follows:
11            A. That Plaintiff take nothing by reason of the Complaint and that judgment
12                   be entered in favor of Defendant;
13            B.     For attorney fees and costs of suit herein; and
14            C.     For such other and further relief as this Court may deem proper.
15                                          JURY DEMAND
16            1.       Defendant hereby demands a trial by jury of all issues so triable.
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19
20    Dated: February 20, 2024                        LIMNEXUS LLP
                                                      John Lim
21                                                    Pio S. Kim
22                                                    David Nealy

23                                               By: /s/ Pio S. Kim
24                                                   Pio S. Kim
                                                     Attorneys for Defendant
25                                                   Korea Times Los Angeles, Inc.
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               ANSWER TO COMPLAINT TO REDUCE FEDERAL TAX AND PENALTY
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                                             PROOF OF SERVICE
 1
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3        I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
   not a party to the within action; my business address is 707 Wilshire Boulevard, 46th Floor,
 4 Los Angeles, California 90017. On February 20, 2024, I served the foregoing document(s) described
   as:
 5
 6             ANSWER TO COMPLAINT TO REDUCE FEDERAL TAX AND PENALTY
                       ASSESSMENTS TO JUDGMENT; JURY DEMAND
 7
     on interested parties in this action as follows:
 8
      Robert F. Conte, Esq.
 9
      Assistant United States Attorney
10    robert.conte@usdoj.gov
      United States of America
11    federal Building, Suite 7211
      300 North Los Angeles Street
12    Los Angeles, California 90012
13    Tel.: (213) 894-6607

14    Attorney for Plaintiff
      United States of America
15
            BY U.S. MAIL: I deposited such envelope, containing above document(s), in the mail at Los
16           Angeles, California. The envelope was mailed with postage thereon fully prepaid. I am
17           “readily familiar” with the firm’s practice of collection and processing correspondence for
             mailing. Under that practice it would be deposited with U.S. postal service on that same day
18           with postage thereon fully prepaid at Los Angeles, California in the ordinary course of
             business. I am aware that on motion of the party served, service is presumed invalid if postal
19           cancellation date or postage meter date is more than one day after date of deposit for mailing
             in affidavit.
20
21          BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the document(s)
             to be sent from e-mail address tyree.west@limnexus.com to the persons at the e-mail
22           address(es) listed below. I did not receive within a reasonable time after the transmission, any
             electronic message or other indication that the transmission was unsuccessful.
23
              I declare under penalty of perjury under the laws of the State of California that the foregoing
24 is true and correct.
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26
     Dated: February 20, 2024                                      __________________________
27                                                                 Tyree West
                                         7
28
               ANSWER TO COMPLAINT TO REDUCE FEDERAL TAX AND PENALTY
                            ASSESSMENTS TO JUDGEMENT
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